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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

James Coppedge, sui juris §
JAMES COPPEDGE, §
Plaintiff § CIVIL/CRIMINAL
§ ACTION NO.:
§ 2:23-cv-02291 (BMS)
Vs. § Date: 08/04/2023
§ Date: 08/14/2023
CITY OF PHILADELPHIA, § Jury Trial: x Yes _ No
James J. Zwolak, Esq. §
Attorney for the Defendant §
Defendant, §
MOTION

NOTICE TO THE AGENT IS NOTICE TO THE PRINCIPAL
NOTICE TO THE PRINCIPAL IS NOTICE TO THE AGENT
AMENDED COMPLAINT

A PETITION FOR RESTRAINING ORDER:
A CONTEST OF UNLAWFUL DOUBLE BOOK ENTRIES

MOTION FOR RECUSAL, PURSUANT TO TITLE 28 § 144
To the Clerk of Court:
For the Honorable Judge Berle M. Schiller:
Dear Judge Schiller:

I, James Coppedge, herein ‘Affiant,” a living breathing man, being first duly sworn, and
of sound mind and body declare by my signature that the following facts are true, correct and
complete to the best of my knowledge, belief, and understanding. Affiant is competent to state
the matters included in his declaration, has knowledge of the facts, and declared that to the best

of his knowledge, the statements made in his affidavit are true, correct, and not meant to mislead;
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1. As “living man” and Secured Party I am authorized to speak for and respond on
behalf of JAMES COPPEDGE. The Taxes and Liens are disputed because all Taxes
and Liens were discharged by Private Negotiable Debt Instruments through the
DEPARTMENT OF THE TREASURY on behalf of JAMES COPPEDGE, the
DEBTOR, pursuant to HJR-192. The CITY OF PHILADELPHIA is being sued for its
failure to credit the accounts, non-appropriate response, Double Book Entries, and
neglect of due process in violation of Pennsylvania Code. The City failed to respond
within 30 days to avoid default or correct the record.

2. This Affidavit is filed in good faith because I believe that the ORDER of Judge
Schiller is in conflict with the Presidential decree of House Joint Resolution 192 of
June 05, 1933 in consideration of the U.S. CONSTITUTION ARTICLE 1, § 10,

I, as affiant, at no time have willingly, knowingly, intentionally, or
voluntarily agreed to subordinate my position as creditor, through
signature, or word, or action, or inaction.

3. I, the undersigned , as Secured Party, Authorized Representative, Beneficiary, and
Trustee of the Account, living man,( NOT the DEBTOR, JAMES COPPEDGE,
entity), and American Citizen that my position as creditor has been rejected as One
of the People who is able to present DEBTS to the DEPARTMENT OF THE
TREASURY for Discharge through the Secretary of the Treasury. Therefore this

recusal is submitted with all due respect.

4. Dear Sir: I am in receipt of your ORDER (not under Oath) Filed August 07, 2023 for

Case No. 23-2291. My Case was CLOSED without help. However, Sir, I do
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appropriate and respect your reasoning. My case was originally filed because I
believe that there was fraud on the alleged contract which I believed to be in violation
15 USC § 1692e seq. in my opinion, and/or the alleged contract itself may have been
an unconscionable contract, or other controversies that may have existed within this
alleged contract/transaction. I had hoped to resolve this matter as soon as possible by
filing in Federal Court. Therefore, I initiated a “private-administrative remedy” to
determine such matters. I agreed to continue making payments per the ‘alleged
contract’ but on condition that Mr. Zwolak or one of his Attorney Agent’s send the
corrected adjusted BILL of the Debt Collector, so I would know just how much to
pay. I requested ‘Proof of Claim’ of a list of lawful statements which were never
answered or refused to answer due to what I believe to be “ an Oath of Office.”
Incidentally, the alleged BILL has no OMB Number and No signature which I

understand is required if a CITY OR STATE BILL is considered to be valid. No?

. By necessary the City’s ‘BONAFIDE PROOF(S) OF CLAIM’ of DEBT from its

Opposing Counsel(s) are set out below, and please take lawful notices that from my
reading that in order to effect a legally authorized notice, the representative is
lawfully required and was hereby demanded to respond point by point in Truth, Fact,
and Evidence to each and every item set forth in the correspondence before he/she or
his/her Authorized Representative can make a claim, without which would be in
violation against the property of a Secured Party in this matter. No? Moreover, in my
opinion Opposing Counsel(s) failure to respond as stipulated by affidavit under

I,
penalty of perjury does valid the City’s claim as being invalid. No?
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6. The BONDS are not a gift to the Court, but for the discharge of judgments and debts
as paid in full. If not used for this purpose, please return the original untouched

instruments or please credit the accounts.

Sincerely,

Date: 08/14/2023 L goer iA TI;
ALA e : ate,

Jam O° Gonnedee, Secu aston 3
ee Representative, Attorney-In- -Fact for 9 f
JAMES COPPEDGE, DEBTOR, Ens/egis/entity > = oes
c/o 52 Barkley, Court..." °°
Dover, Delaware near [19904]° °

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To continue the necessary “Proof (s) of Claim is set out below, to wit:

1. PROOF OF CLAIM that the Opposing Counsel, Mr. Zwolak did not give FULL
DISCLOSURE to all matters dealing with said contract as to the US Bankruptcy of 1933
form of payment, what was loaned, if any, etc.

2. PROOF OF CLAIM that the agent Mr. Zwolak in sending the undersigned the DEMAND
FOR PAYMENT OF DEBT BILL via the US Mail, does not constitute a mailing a fraudulent
claim, and/or committing mail fraud (Title 13, Sec 1331 USC).

3. PROOF OF CLAIM that the CITY OF PHILADELPHIA/DEPARTMENT OF REVENUE as an
‘artificial entity/creature, created under the laws of the State of Pennsylvania and doing
business in the State of Pennsylvania, by and through it’s Officers, Board of Directors
and employees, and agents are not bound to support Article |, § X, as a ‘State created
entity’ in that “No State shall... make any Thing but gold and silver coin as Legal Tender
in Payment of Debts.”

4, PROOF OF CLAIM that per the DEMAND FOR PAYMENT OF DEBT that the payment
expected is in the nature of Valuable Consideration and called ‘constitutional money of
account’ and said ‘demand’ is in compliance with Title 31 UNTED STATES CODE § 371
and 12 U.S.C. § 152.

5. PROOF OF CLAIM that the Opposing Counsel Mr. Zwolak inquired or knew that the
undersigned has access to ‘lawful money of account’ to ‘pay’ the contract debt(s) at law
without becoming a tort feasor.

6. PROOF OF CLAIM that the use of a (federal reserve) ‘Note’, or instruments certifying
conveyance of Federal Reserve Notes, is not only a promise to pay. See Fidelity Savings
v. Grimes, 131 P2d 894.

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7. PROOF OF CLAIM that Legal Tender (federal reserve) Notes, or instruments certifying
conveyance of Federal Reserve Notes, are good and lawful money of the United States.
See Rains v State, 226 S.W. 189.

8. PROOF OF CLAIM that Federal Reserve Notes, or instruments certifying conveyance of
Federal Reserve Notes, are not valueless. See IRS Codes Section 1.1001-1 (4657) C.C.H.
(Note; Federal reserve Bank says “Federal Reserve Notes.. “...have no value.”)

9. PROOF OF CLAIM that (federal Reserve) Notes, or instruments indicating a conveyance
of Federal Reserve Notes, do operate as payment in the absence of an agreement that
they shall constitute payment. See Blachshear Mfg. Co. v Harrell, 12 S.E. 2d 766.

10. PROOF OF CLAIM that the undersigned had a ‘meeting of the mind(s)’ with the City
of Philadelphia pursuant to the contract/agreement in respect to full disclosure and that
said contract contained or contains no elements of fraud by City of
Philadelphia/Department of Revenue.

11. PROOF OF CLAIM that Mr. Zwolak, Esq. did not, in respect to their
contract/agreement was not made beyond the scope of its corporate powers and the
contract is not unlawful and void. (see for reference McCormick v Market Natl. Bank,
165 Us 538)

12. PROOF OF CLAIM that the Negotiable Instruments Law was not designed to cover
commercial paper, [which] IS the currency. La. Stat. Ann. -R.S., 71 et seq. LSA-C.C. ,
Art. 2139 (see Affidavit of Walker Todd, a Federal Reserve Banking Attorney on line).

13. PROOF OF CLAIM of what did the City of Philadelphia/Department of Revenue
loaned to the Undersigned via the contract/agreement?

14. PROOF OF CLAIM that City of Philadelphia/Department of Revenue did not loan their
‘credit’ and if City of Philadelphia/Department of Revenue only loaned its ‘credit’, is it
true that the undersigned IS ONLY OBLIGATED to pay back in something other than ‘like
kind, i.e., the Undersigned’s credit.

15. PROOF OF CLAIM that the U.S. Bankruptcy did not impair the obligations and
considerations of contracts through the “Joint Resolution To Suspend The Gold Standard
and Abrogate the Gold Clause,”- June 5, 1933 as it may operate within the State of
Pennsylvania/STATE OF PENNSYLVANIA and the above contract/agreement/account
numbers as indicated in Case Number 23-2291(BMS)/23-2580(BMS).

16. PROOF OF CLAIM that the undersigned cannot accept for value any public or private
presentment/invoice/Bill, etc., for fine, fee, tax, debt or judgment and discharge the
same and return it for discharge or other commercial paper under necessity pursuant to
HJR-192 to carry on commerce. (see P.L. 73-10 (48) Statute 112-113).

17. PROOF OF CLAIM that City of Philadelphia/Department of Revenue by and through
its employees, knew or did not know, that this transaction was beyond the scope of its
Charter and that City of Philadelphia/Department of Revenue did not intend to bind the
undersigned to an unconscionable contract.
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18. PROOF OF CLAIM that your DEMAND FOR PAYMENT OF DEBT letter/NOTICE does
not therefore constitute an attempt by City of Philadelphia/Department of Revenue at
unjust enrichment since the Account is a pre-paid account (UCC 3-419) in accordance
with HJR-192 of June 05, 1933 in consideration of the U.S. CONSTITUTION ARTICLE 1, §
10.

19. PROOF OF CLAIM that undersigned, as the authorized representative of the Debtor
does not have the standing or capacity to accept for value the
offer/contract/presentment and return it for discharge or via the use of other
appropriate commercial paper for discharge via the remedy provided by Congress — HJR-
192 of June 5, 1933 and UCC 1-103.6.

CAVEAT

1. Failure, or refusal by you, Mr. Zwolak, Esq., on behalf of and for City of
Philadelphia/Department of Revenue to provide the above ‘Proof(s) of Claim’ will
constitute your default and dishonor and Mr. Zwolak, Esq. stipulates and agrees to
have failed to state a claim upon which relief can be granted and Mr. Zwolak, Esq.
will have admitted fraud on the contract and/or compelling the Undersigned into an
unconscionable contract and that there was no meeting of the minds in respect to
the contract as to form of payment.

2. Mr. Zwolak, Esquire will have stipulated to the facts herein as they operate in favor of
the Undersigned, due to James J. Zwolak’s silence and City of
Philadelphia/Department of Revenue is estopped in any adverse actions or defenses.
Mr. James J. Zwolak, Esquire admits to failure or refusal to bring forth the requested
‘Proof(s) of Claim’ in violation of the ‘clean hands doctrine,’ ‘full disclosure, ‘good
faith dealing,’ and the FAIR DEBT COLLECTIONS PRACTICES ACT, as applied to this
transaction/contract/ as referenced above.

3. Therein, presumption will be taken in regards to your refusal, failure, default, and
dishonor, admission, and confession of injury and damage and failure to state a
claim, that you, Mr James Zwolak,, on behalf of CITY OF
PHILADELPHIA/DEPARTMENT OF REVENUE, this ‘Conditional Acceptance’ becomes
the agreement and said agreement becomes the bond, and you agree and stipulate
that the undersigned can only accept for value the ‘presentment’ (Demand for
Payment Letter/NOTICE) and return it for adjustment, settlement, closure and
discharge.

4. Due to the time sensitive nature of this private matter, under necessity, Mr. Zwolak
failed to respond and provide the requested ‘Proof(s) of Claim’ within 30 days by
certified mail to the Undersigned with a certified copy to the Third Party or Notary as
addressed below.

5. Since Mr. Zwolak, Esquire as Attorney for the CITY OF PHILADELPHIA/DEPARTMENT
OF REVENUE fail or refuse to provide ‘Proof(s) of Claim’ within the time specified in
this private matter, your default has established your agreement in this matter and
remember, agreement/contract makes the law and law is contract.
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NOTARY PUBLIC
Benjamin T. Garrett, N.P.
251 N. DuPont HWY
Dover, DE 19904
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Case No.: 23-2291(BMS)

CERFICATE OF COUNSEL RESPRESENTATIVE

|, the undersigned do certify that the foregoing is submitted in good faith on this 7 4 day of August
2023.

JAMES COPPEDGE, DEBTOR © Ens legis

c/o 52 Barkley Court

Dover, Delaware near [19904]
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VERIFICATION OF SERVICE CASE No.: 23-2291(BMS)

|, the undersigned, certify and affirm that under the penalty of perjury the foregoing is true and correct
to the best of my knowledge and belief under oath and upon my unlimited commercial liability.

AFFIDAVIT OF SERVICE

|, the undersigned, certify that a copy of the foregoing PETITION FOR CONTEST OF TAXES, LIENS
JUDGMENTS, and Motion for Recusal due to conflict of interest about HJR-192 and the U.S.
CONSTITUTION ARTICLE 1 § 10,pursuant to Federal Rules of Civil Procedures (FRCP) Rule 60(b), House
Joint Resolution (HJR) 192 of June 5, 1933, the Tax Bills, etc., being Accepted for Value and Returned for
the Assessed Value in Exchange for my exemption for Settlement, closure and Discharge of this
Accounting, pursuant to HJR-192, Public Law 73-10 (48) Statutes 112-113, in consideration of the U.S.
CONSTITUTION ARTICLE 1, § 10 was DISPUTED and served upon the following party: Date: 08/14/2023
in the manner indicated below:

By U.S. Pre-paid mail:

OFFICE OF THE CLERK
U.S. DISTRICT COURT
PHILADELPHIA, PA 19106
Sincerely,

Without

By: Sames Coppedge, sutjuris\, \ --’ -
Prosgna Sui Juris Sponte, : F . bh?
Without prejudice, Oo" ee
UCC 1-207.4/ 1-308, 3-419" -’ hawk”
All Rights are Explicitly Reserved rane® "*
Non Pro Tunc
Authorized Representative

Surety and Trustee for the Principle
Attorney-In-Fact,
c/o 52 Barkley Court
Dover, Delaware, Republic [19904]
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